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   United States of America
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 7

 8                                   UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0024-TLN
12                                Plaintiff,             STIPULATION AND (PROPOSED) ORDER
                                                         TO SET BRIEFING SCHEDULE AND SET JURY
13                          v.                           TRIAL DATE
14   JOSHUA MARKANSON,                                   Date:     May 4, 2023
                                                         Time:     9:30 a.m.
15                                Defendants.            Judge:    Hon. Troy L. Nunley
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17          The United States of America, through its undersigned counsel, and defendant Joshua Markanson,

18 through his counsel of record, stipulate that the status conference currently set for May 4, 2023, be

19 vacated and the case be set for Jury Trial on February 12, 2024. The parties also jointly request that the

20 Court set the following briefing schedule for all Rule 12 and non-in-limine motions:

21          1. All Motions shall be filed by September 1, 2023.
22          2. All Oppositions shall be filed by October 2.
23          3. All Replies shall be filed by October 16.
24          4. A non-evidentiary hearing on the motions on October 26.
25          Based on the representations of counsel in court and in legal filings in this case and defense
26 counsel’s on-going need to prepare for jury trial in this matter, including conducting research and

27 investigation related to the charges in the Second Superseding Indictment, the parties stipulate that the

28 Court should exclude of time between May 4, 2023, and February 12, 2024. The parties further agree

      STIPULATION AND (PROPOSED) ORDER                     1
      TO SET JURY TRIAL AND MOTION SCHEDULE
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 1 that time under the Speedy Trial Act should be excluded from the date the parties stipulated, to and

 2 including February 12, 2024, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare],

 3 and General Order 479 [Local Code T4], based on continuity of counsel and defense preparation.

 4                                                      Respectfully submitted,

 5 Dated: May 2, 2023                                   _/s/ Justin L. Lee___________
                                                        JUSTIN L. LEE
 6
                                                        Assistant United States Attorney
 7                                                      Attorney for Plaintiff United States
                                                        Attorney for Defendant Isaiah Burks
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 9 Dated: May 2, 2023                                   _/s/ JLL for Etan Zaitsu___________
                                                        ETAN ZAITSU
10                                                      Zaitsu Law
                                                        Attorney for Defendant Joshua Markanson
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      STIPULATION AND (PROPOSED) ORDER                  2
      TO SET JURY TRIAL AND MOTION SCHEDULE
              Case 2:18-cr-00024-TLN Document 251 Filed 05/02/23 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendant in a speedy trial.

 8          The Court orders this case set for Jury Trial to begin on February 12, 2024. The Court adopts the

 9 proposed briefing schedule and sets this matter for a non-evidentiary motion hearing on October 26,

10 2023.

11          The Court orders that the time from the date the parties stipulated, to and including February 12,

12 2024, shall be excluded from computation of time within which the trial in this case must begin under

13 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

14 Order 479 [Local Code T4]. It is further ordered that the May 4, 2023 status conference is vacated.

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16 Dated: May ____, 2023                                   _______________________________
                                                           Hon. Troy L. Nunley
17                                                         United States District Judge
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      STIPULATION AND (PROPOSED) ORDER                     3
      TO SET JURY TRIAL AND MOTION SCHEDULE
